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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
V. : Case No. 21-CR-87 (TJK)
MICHAEL SPARKS, et al.,

Defendants.

ORDER

Upon consideration of the United States’ Motion for Early Return of Trial Subpoenas
Pursuant to Federal Rule of Criminal Procedure 17(c), it is hereby ORDERED:

1. That Capital One and AT&T be required to comply with the proposed trial
subpoenas by producing records as described in Attachment A to each subpoena, a redacted copy
of which was appended to the government’s motion;

2. That Capital One and AT&T, in lieu of appearing in court with the requested
records, may provide them directly to the U.S. Attorney’s Office for the District of Columbia or
the FBI before April 28, 2023, at 1:30 p.m.;

3. That the United States shall produce any subpoena results received promptly to the
defendants through the discovery process; and

4. That the United States may grant either of the entities subpoenaed any requested

necessary extensions of time to comply with the subpoenas.

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TIMOTHY J. KELLY
United States District Judge

SO ORDERED.

Date: Mareh f, 2023
